       Entered on Docket June 4, 2015
                                                         Below is the Order of the Court.


                                                         _______________________________
                                                         Marc Barreca
 1                                                       U.S. Bankruptcy Judge
 2                                                       (Dated as of Entered on Docket date above)
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                                     UNITED STATES BANKRUPTCY COURT
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                                     WESTERN DISTRICT OF WASHINGTON
16                                             AT SEATTLE
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18     In re                                                     Case No. 14-10421-MLB
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20     CASEY R. INGELS,
21                                          Debtor.
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26     JOHN S. PETERSON, as Bankruptcy Trustee,                  Adversary No. 14-01387-MLB
27
28                                          Plaintiff,
29
30     vs.                                                       EX PARTE ORDER SHORTENING TIME
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                                                                 FOR HEARING ON DEFENDANT’S
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       CASEY R. INGELS,                                          MOTION IN LIMINE
34
35                                          Defendant.
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38                   THIS MATTER having come before this Court on Defendant’s Motion to Shorten
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             Time on Hearing on Defendant’s Motion in Limine (the “Motion”) , the Court having
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43           reviewed the Motion to Shorten Time and finding that good cause exists to shorten time,
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45           now, therefore, it is hereby
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        EX PARTE ORDER SHORTENING TIME FOR
        HEARING ON DEFENDANT’S MOTION IN
                                                                              720 Olive Way, Suite 1000
        LIMINE - 1
                                                                                  Seattle, WA 98101
                                                                        206-624-9894 phone / 206-624-8598 fax


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 1                ORDERED that the hearing on Debtor’s Motion in Limine shall be held on June
 2
 3       _____,
          5     2015, at _______a.m./p.m.
                          1:30            and responses to the Motion will be due at the date/time
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 6
         of hearing.
         by 11:59 p.m. on June 4, 2015. Telephonic appearances are pre-approved.
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 8                                      /// END OF ORDER ///
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11       Presented by:
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13
14       THE
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               TRACY LAW GROUP PLLC
16
17
18       By     /s/ Jamie McFarlane
19       J. Todd Tracy, WSBA #17342
20       Jamie McFarlane, WSBA #41320
21       Attorneys for Debtor/Defendant
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